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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF OKLAHOMA

SHANE NORRID, et al., individually          )
and on behalf of all others similarly       )
situated,                                   )
                                            )
          Plaintiffs,                       ) Case No. 17-cv-401-RAW
                                            )
v.                                          )
                                            ) CLASS AND COLLECTIVE ACTION
D.A.R.P., INC., an Oklahoma for profit      )
corporation, et al.,                        )
                                            )
          Defendants.                       )


 PLAINTIFF ENGLAND’S AND PLAINTIFF TROXEL’S NOTICE OF DISMISSAL
     OF CLAIMS AGAINST DEFENDANT R&R ENGINEERING CO., INC.


       COMES NOW, Plaintiffs Steven England and Kermit Michael Troxel, by and

through undersigned counsel of record, and provide this notice to the Court and all parties

that Plaintiffs England and Troxel have voluntarily dismissed their claims against

Defendant R&R Engineering Co., Inc. from this action pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i). No other named plaintiff maintains any claims against R&R and R&R has

made no cross or counter-claims. Plaintiff England’s and Plaintiff Troxel’s claims against

any other defendants are not subject to this notice, and so Plaintiff England and Plaintiff

Troxel remain in this case.

                                          Respectfully submitted,

                                          /s/ Amy N. Gioletti
                                          Brady R. Henderson, OBA#21212
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                            CERTIFICATE OF SERVICE


       I certify that on the day of filing, a true and correct copy of the above and

foregoing was submitted to the Clerk of Court using the ECF system for filing and

transmittal of a notice of electronic filing to all counsel who have entered an appearance

in this case.

                                         /s/ Amy N. Gioletti
